     Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 1 of 14 PageID #:34




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANDRE JENNINGS,                                           )
                                                          )
                Plaintiff,                                )        Case No.: 1:23-CV-14099
                                                          )
        v.                                                )        Judge: John J. Tharp, Jr.
                                                          )
ED NAPLETON ELMHURST IMPORTS                              )
INC.,                                                     )
                                                          )
                Defendant.                                )

          DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
    MOTION TO COMPEL ARBITRATION AND DISMISS PLAINTIFF’S COMPLAINT

        Defendant, Ed Napleton Elmhurst Imports, Inc. (“Napleton”), by and through its attorneys,

Fisher & Phillips, LLP, pursuant to 9 U.S.C. §§ 3 and 4, hereby submits this Memorandum of Law

in support of its Motion for an Order compelling arbitration of all claims in Plaintiff Andre

Jennings’ (“Plaintiff”) Complaint and dismissing Plaintiff’s Complaint, with prejudice, pursuant

to Federal Rule of Civil Procedure 12(b)(1). 1

                                           INTRODUCTION

        As a condition of his continued employment with Napleton, Plaintiff entered into a Non-

Solicitation Agreement and Agreement to Arbitrate Employment Claims (“Arbitration

Agreement”) with Napleton that required, among other things, Plaintiff to arbitrate any claims he

filed against the Company relating to his employment. Although Plaintiff most certainly was aware

of the Arbitration Agreement (after all, he signed it) and his contractual obligation to arbitrate his

claims, Plaintiff filed the instant Complaint against Napleton. There is no justification for

Plaintiff’s attempt to circumvent the binding agreement to arbitrate because the Arbitration


1
  Alternatively, Napleton requests that the Court stay the current proceedings pending the outcome of binding
arbitration of Plaintiff’s claims.


FP 48915356.1
     Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 2 of 14 PageID #:35




Agreement and the Federal Arbitration Act (“FAA”) mandate that Plaintiff’s claims be heard

exclusively in an arbitral forum. Therefore, for the reasons established below, Napleton

respectfully requests that this Court grant its motion to: (1) compel arbitration for the claims

asserted in Plaintiff’s Complaint against Napleton pursuant to 9 U.S.C. §§ 3 and 4; and (2) dismiss

Plaintiff’s Complaint for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

I.      STATEMENT OF RELEVANT FACTS

        Napleton is an automotive dealership in Elmhurst, Illinois selling new Kias and used cars.

See Declaration of Amanda Grayson, attached as Exhibit A, ¶ 2. Plaintiff is a former sales

employee at Napleton. See id. ¶ 5. Plaintiff was hired by Napleton on April 23, 2019. Id. ¶ 3. In

September 2020, as a condition of continued employment, Napleton presented Plaintiff with a

Non-Solicitation Agreement and Agreement to Arbitrate Employment Claims. See Non-

Solicitation Agreement and Agreement to Arbitrate Employment Claims (“Arbitration

Agreement”), attached as Exhibit B; see also Exhibit A, ¶ 4. On September 30, 2020, Plaintiff

reviewed, assented to, and agreed to enter into the Arbitration Agreement relating to his

employment. See id.

        The Arbitration Agreement, which Plaintiff voluntarily executed, specifically states, in

pertinent part, as follows:

                                          ARBITRATION

                I AND THE COMPANY AGREE to utilize binding arbitration as
                the sole and exclusive means to resolve all disputes that may arise
                out of or be related in any way to my employment with the
                Company, its affiliates, parents, subsidiaries, divisions and/or
                related companies. I and the Company each specifically waive and
                relinquish our respective rights to bring a claim against the other in
                a court of law and to have a trial by jury. Both I and the Company
                agree that any claim, dispute, and/or controversy that I may have
                against the Company (or its affiliates, parents, subsidiaries,
                divisions, related companies, owners, directors, officers, managers,


                                                  2
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 3 of 14 PageID #:36




                employees, or agents), or the Company may have against me, shall
                be submitted to and determined exclusively by binding arbitration
                under the Federal Arbitration Act (“FAA”). I acknowledge and
                agree that the FAA applies to this Agreement because the business
                of the Company involves interstate commerce. Included within the
                scope of this Agreement are all disputes, whether based on tort,
                contract, statute (including but not limited to, any claims of
                discrimination, harassment and/or retaliation whether they be based
                on the Title VII of the Civil Rights Act of 1964, as amended, or any
                other state or federal law or regulation), equitable law, or otherwise.
                The only exceptions to binding arbitration shall be for claims arising
                under the National Labor Relations Act which are brought before
                the National Labor Relations Board, claims for medical and
                disability benefits under state workers’ compensation laws, claims
                for unemployment insurance, or other claims that are not subject to
                arbitration under current federal law. I and the Company
                acknowledge that by signing or refusing to sign this Agreement, I
                make no representation or demonstration of support or rejection of
                concerted activity. However, nothing herein shall prevent me from
                filing and pursing proceedings before the United States Equal
                Employment Opportunity Commission or similar state government
                agency that enforces state fair employment laws (although if I
                choose to pursue a claim following the exhaustion of such
                administrative remedies, that claim would be subject to the
                provisions of this Agreement).

                I agree that any claims brought under this binding arbitration
                Agreement shall be brought in the individual capacity of myself of
                the Company. This binding arbitration Agreement shall not be
                construed to allow or permit the consolidation or joinder of other
                claims or controversies involving any other employees or parties, or
                permit such claims or controversies to proceed as a class or
                collective action. No arbitrator shall have the authority under this
                agreement to order any such class or collective action. Any dispute
                regarding the scope or enforceability of this Agreement shall be
                resolved by a court, not the arbitrator. By signing this agreement, I
                am agreeing to waive any substantive or procedural rights that I may
                have to bring or participate in an action brought on a class or
                collective basis. This agreement is not intended to interfere with my
                rights to collectively bargain, to engage in protected, concerted
                activity, or to exercise other rights protected under the National
                Labor Relations Act.

                In addition to any other requirements imposed by law, the following
                procedural requirements shall apply unless the Parties mutually
                agree otherwise. The arbitrator selected shall be a retired federal


                                                  3
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 4 of 14 PageID #:37




                judge or judge of the state court of general jurisdiction, or an
                otherwise qualified individual to whom the parties mutually agree.
                The arbitrator shall follow and observe the Federal Rules of Civil
                Procedure and the Federal Rules of Evidence, and all rules of
                pleading (including the right to file a Motion to Dismiss), all rules
                of evidence, all rights to resolution of the dispute by means of
                motions for summary judgment, judgment on the pleadings, and
                directed judgment or non-suit shall apply and be observed. The
                arbitrator shall have the immunity of a judicial officer from civil
                liability when acting in the capacity of an arbitrator, which
                immunity supplements any other existing immunity. Likewise, all
                communications with the arbitrator during or in connection with the
                arbitration proceedings shall be considered privileged. As
                reasonably required to allow full use and benefit of this agreement,
                the arbitrator shall extend the times set for the giving of notices and
                setting of hearings. Awards shall include the arbitrator’s written
                reasoned opinion. Resolution of all disputes shall be based solely
                upon the law governing the claims and defenses pleaded, and the
                arbitrator may not invoke any basis (including bot not limited to,
                notions of “just cause”) other than such controlling law.

See Exhibit B. Plaintiff returned to work for Napleton after he signed the Arbitration Agreement

until his separation on November 14, 2022. See Exhibit A, ¶ 5.

        Plaintiff’s Complaint is clearly grounded in factual assertions that arise from and out of his

employment relationship with Napleton. Plaintiff’s Complaint alleges that Napleton subjected

Plaintiff to hostile work environment racial harassment, disparate treatment based upon race, and

retaliation in violation of 42 U.S.C. § 1981, Title VII of the Civil Rights Act of 1964, 42 U.S.C.

2000c, et seq., and the Illinois Human Rights Act, 775 ILCS 5/1 et seq. [ECF No. 1]. Indeed,

Plaintiff’s theories for liability are founded upon claims that Napleton racially harassed Plaintiff

and/or failed to promptly correct and prevent any alleged racial harassment, treated Plaintiff

differently and worse than similarly situated white employees with respect to compensation,

discipline, and termination decisions, and retaliated against Plaintiff after he reported the conduct

to members of Defendant’s management team and human resources. [ECF No. 1, ¶¶ 107-109, 118,

125-127, 134-136, 145, 152-154, 161-163, 172, 178-180].


                                                  4
FP 48915356.1
      Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 5 of 14 PageID #:38




        Plaintiff’s claims are specifically encompassed by the Arbitration Agreement and, thus,

must be heard exclusively in an arbitral forum. Therefore, for the reasons established below,

Plaintiff’s claims are preempted by the FAA and relegated to mandatory arbitration, based upon

Plaintiff’s voluntary acceptance and execution of the Arbitration Agreement.

II.     LEGAL STANDARD

        The FAA governs questions of arbitrability in both federal and state courts. Jain v. de Mere,

51 F.3d 686, 688 (7th Cir. 1995). The FAA reflects a “liberal federal policy favoring arbitration,”

AT&T Mobility LLC v. Conception, 563 U.S. 333, 131 S. Ct. 1740 (2011) (quoting Moses H. Cone

Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 214 (1983). Section 2 of the FAA provides

that an arbitration clause in “a contract evidencing a transaction involving commerce . . . shall be

valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the

revocation of any contract.” 9 U.S.C. § 2.

        Courts should uphold and enforce arbitration agreements according to their terms unless

they are invalidated by “generally applicable contract defenses, such as fraud, duress, or

unconscionability.” Doctor’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996). Therefore, the

standard for compelling arbitration is low. Conway v. Done Rite Recovery Services, Case No. 14-

cv-5182 (N.D. Ill. Apr. 30, 2015). Moreover, arbitration agreements in the employment context

are broadly enforceable under the FAA. Circuit City Stores, Inc. v. Adams, 532 U.S. 105 (2001).

Any doubts concerning the scope of arbitral issues should be resolved in favor of arbitration.

Valuepart v. Faruhar, Case No. 14-cv-3004 (N.D. Ill. Sept. 29, 2014).

        To that end, courts in the Seventh Circuit have routinely enforced arbitration provisions

with respect to workplace discrimination. See Tinder v. Pinkerton Sec., 305 F.3d 728, 736 (7th Cir.

2002) (holding that the plaintiff was bound to arbitrate his claims pursuant to an arbitration



                                                  5
FP 48915356.1
       Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 6 of 14 PageID #:39




agreement); Michalski v. Circuit City Stores, Inc., 177 F.3d 634, 673 (7th Cir. 1999) (same);

Scaffidi v. Fiserv Inc., Case No. 05 C 1046, 2006 WL 2038348, *1, *15 (E.D. Wis. 2006) (same);

Dalope v. United Health Care, Case No. 03 C 8919, 2004 WL 2325688, *1, *6 (N.D. Ill. 2004).

As the Seventh Circuit explained, “[w]e [have] found, as have most other Circuits, that Congress

did not intend to prohibit the use of pre-dispute arbitration agreements for the resolution of Title

VII claims. 2 Michalski, 177 F.3d at 635. Accordingly, a “district court must promptly compel

arbitration once it is satisfied that the parties agreed to arbitrate.” Tinder, 305 F.3d at 735.

III.     LEGAL ARGUMENT

         This Court should compel Plaintiff to arbitrate his claim against Napleton. Upon being

presented with a motion to compel arbitration, this Court must make three determinations. First,

the Court must determine whether there is a valid written agreement to arbitrate in place. Prima

Paint Corp. v. Flod & Conklin Mfg. Co., 388 U.S. 395, 400 (1967). Second, the Court must

determine whether the dispute falls within the scope of the arbitration agreement. Mitsubishi

Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626 (1985). Third, the Court must

determine if the plaintiff has agreed to arbitrate those claims, so as to warrant an order compelling

arbitration. Zurich Am. Ins. Co. v. Watts Indus., Inc., 417 F.3d 682, 687 (7th Cir. 2005) (citing 9

U.S.C. § 4). In this case, compelling arbitration is appropriate because there is a valid arbitration

agreement and Plaintiff’s Complaint falls within the scope of the arbitration agreement.


2
  It is well established that Congress did not intend to exclude from arbitration the claims asserted in Plaintiff’s
Complaint. Circuit City Stores, Inc., 532 U.S. at 105 (affirming that arbitration agreements covering employment-
related claims are enforceable). To the contrary, courts and federal policy have unambiguously established that claims
arising under federal discrimination statutes are subject to arbitration. See Gilmer v. Interstate/Johnson Lane Corp.,
500 U.S. 20, 29-30 (1991) (holding that Congress did not intend to preclude claims arising under the Age
Discrimination in Employment Act from arbitration); Pryner v. Tractor Supply Co., 109 F.3d 354 (7th Cir. 1997)
(recognizing that employees may individually agree to arbitrate their statutory claims under Title VII); Gibson, 121
F.3d at 1126 (acknowledging that an employee and employer may contractually agree to submit federal claims); Civil
Rights Act of 1991, Pub.L. No. 102-166 sec. 118, 105 Stat. 1071, 1081 (1991) (not codified) (authorizing use of
arbitration where appropriate to resolve disputes arising under certain federal statutes, including Title VII).


                                                          6
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 7 of 14 PageID #:40




        A. Federal Law Favors Arbitration.

        As an initial matter, Napleton notes that federal law favors this matter being relegated to

an arbitral forum pursuant to Plaintiff’s agreement. The United States Supreme Court has affirmed

that the FAA applies to arbitration agreements in the employment context. See, e.g., Rent-A-Center

West, Inc. v. Jackson, 561 U.S. 63 (2010) (holding that § 1981 claims should be arbitrated); Circuit

City Stores v. Adams, 532 U.S. 105 (2001). The FAA was enacted to overcome courts’ reluctance

to enforce arbitration agreements. See, e.g., Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265,

270 (1995). It not only placed such agreements on equal footing with other contracts, but also

established a federal policy in favor of arbitration agreements, notwithstanding any state

substantive or procedural policies to the contrary. See, e.g., Green Tree Financial Corp. v.

Randolph, 531 U.S. 79, 89-90 (2000) (Supreme Court has “rejected generalized attacks on

arbitration that rest on ‘suspicion of arbitration as a method of weakening the protections afforded

in the substantive law to would-be-complainants’”); Southland Corp. v. Keating, 465 U.S. 1, 10

(1984) (in enacting the FAA, “Congress declared a national policy favoring arbitration and

withdrew the power of the states to require a judicial forum for the resolution of claims which the

contracting parties agreed to resolve by arbitration”).

        This policy is so significant that “even claims arising under a statute designed to further

important social policies may be arbitrated.” Green Tree Financial Corp., 531 U.S. at 90. The

FAA permits private parties to “trade [] the procedures . . . of the courtroom for the simplicity,

informality, and expedition of arbitration.” Gilmer v. Interstate/Johnson Lane Corp. 500 U.S. 20,

31 (1991). Moreover, the United States Supreme Court has warned against judicial rulings

designed to erode FAA precedence “by indirection.” Circuit City Stores v. Adams, 532 U.S. 105,

107 (2001). It is instead the intent of Congress “to move the parties to an arbitrable dispute out of



                                                  7
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 8 of 14 PageID #:41




court and into arbitration as quickly and easily as possible” and have “questions of arbitrability . .

. be addressed with a healthy regard for the federal policy favoring arbitration.” Moses H. Cone

Memorial Hospital, 460 U.S. at 22-25. Courts must defer to arbitration “unless it may be said with

positive assurance that the arbitration clause is not susceptible of an interpretation that covers the

asserted dispute. Doubts should be resolved in favor of coverage.” Steelworkers v. Warrior Gulf

Co., 363 US 574, 582-583 (1960). Clearly, any objection to relegating this matter to mandatory

arbitration should be viewed with a healthy regard of skepticism and must be analyzed against the

strong public policy favoring arbitration. For this reason, and those established below, this Court

should grant Napleton’s motion and mandate Plaintiff’s claims be heard in an arbitral forum.

        B. The Arbitration Agreement Is Valid Under Illinois Law and Encompasses
           Plaintiff’s Claims.

        The Arbitration Agreement is a valid and enforceable contract. In considering the

enforceability of an arbitration agreement, Courts must first determine whether the dispute is

subject to arbitration pursuant to valid arbitration agreement. Howsam v. Dean Witter Reynolds,

Inc., 537 U.S. 79, 83-84 (2002). Courts within the Seventh Circuit apply state contract law when

determining whether there is a valid agreement to arbitrate. See e.g. James v. McDonald's Corp.,

417 F.3d 672, 677 (7th Cir. 2005); Gibson v. Neighborhood Health Clinics, 121 F.3d 1126, 1130

(7th Cir. 1997). Under Illinois law, a valid contract consists of an offer, an acceptance and

consideration. Melena v. Anheuser-Busch, Inc., 847 N.E.2d 99, 109 (Ill. 2006) (citing Steinberg v.

Chicago Med. Sch., 371 N.E.2d 634, 639 (Ill. 1977)). All three are present here.

                1. Napleton Offered Plaintiff the Option to Agree To Mandatory Arbitration.

        By virtue of Plaintiff being provided notice of the Arbitration Agreement as a condition of

continued employment, Napleton “offered” the Arbitration Agreement to Plaintiff for purposes of

creating a valid and enforceable contract. Melena, 847 N.E.2d at 109. The provision of arbitration


                                                  8
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 9 of 14 PageID #:42




materials to an employee, even without further training on said materials, is sufficient to create an

“offer” of an arbitration agreement. Mecherle v. Trugreen, Inc., 2012 WL 4097221, *4 (N.D. Ill.

2012). Here, Plaintiff cannot dispute that he received a copy of the Arbitration Agreement, which

he had an opportunity to review before affixing his signature. See Exhibit B. Clearly, Plaintiff was

“offered” the Arbitration Agreement as a condition of continued employment.

                2. Plaintiff Agreed to be Bound by Napleton’s Arbitration Agreement.

        Plaintiff’s acceptance of the Arbitration Agreement further demonstrates its validity and

enforceability. In fact, Plaintiff manifested his acceptance to the terms of the Arbitration

Agreement in two ways by: (1) clearly and plainly affixing his signature to the Arbitration

Agreement after receiving it and having an opportunity to review and consider it; and (2)

continuing his employment with Napleton after being offered to enter into the Arbitration

Agreement as a condition of continued employment.

        First, Plaintiff’s signature clearly establishes his agreement to be bound by the provisions

of the Arbitration Agreement. Bauer v. Morton’s of Chicago, 2000 WL 149287, *2 (N.D. Ill.

2000); Flynn v. AerChem, Inc., 102 F. Supp. 2d 1055, 1060 (S.D. Ind. 2000) (concluding that the

plaintiff’s signature constituted sufficient evidence that she accepted the arbitration agreement).

In fact, both Plaintiff and Napleton’s signatory signed the Arbitration Agreement. See Exhibit B.

Plaintiff never revoked his agreement. Put simply, Plaintiff’s signature establishes that Plaintiff

accepted the terms and conditions of the Arbitration Agreement.

        Second, Plaintiff’s continued employment with Napleton after being notified of (and

signing) the Arbitration Agreement further establishes Plaintiff’s acceptance of the Arbitration

Agreement. “Under Illinois law, continued employment after notice of an arbitration program

constitutes acceptance and consideration.” Mecherle, 2012 WL 4097221 at *5. Here, it is



                                                 9
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 10 of 14 PageID #:43




undisputed that Plaintiff continued to work for Napleton for over two years after Plaintiff signed

the Arbitration Agreement. See Exhibit A, 5; see also [ECF No. 1, ¶ 11]. Therefore, even if the

Court were to disregard Plaintiff’s signature on the Arbitration Agreement, which establishes—in

and of itself—Plaintiff’s assent to the Arbitration Agreement, Plaintiff further accepted the

Arbitration Agreement by continuing his employment after receiving notice of it. Id. Under either

independent scenario, Plaintiff clearly accepted the Arbitration Agreement.

                3. The Arbitration Agreement Is Supported By Adequate Consideration.

        Finally, the Arbitration Agreement is supported by adequate consideration under Illinois

law. For a contract to be enforceable under Illinois law, there must be consideration. Melena, 847

N.E.2d at 109. Consideration is the bargained-for exchange of promises or performances and may

consist of a promise, an act or a forbearance. McNerney v. Charter Golf, Inc., 680 N.E.2d 1347,

1350 (Ill. 1997) (citing Restatement (Second) of Contracts § 71 (1981)). Any act or promise that

is of benefit to one party or disadvantage to the other is a sufficient consideration to support a

contract. Steinberg, 371 N.E.2d at 639. An employer’s promise to be bound by the arbitration

process itself serves as mutual consideration in the underlying arbitration agreement. Michalski,

177 F.3d at 636.

        Here, the provisions in the Arbitration Agreement provide that each party is bound to

arbitrate their claims against the other party. See Exhibit B (“I AND THE COMPANY AGREE to

utilize binding individual arbitration as the sole and exclusive means to resolve all disputes that

may arise out of or be related in any way to my employment…”). The Arbitration Agreement was

not a one-sided bargain. Because there was a mutual waiver of the right to bring a civil action,

there is adequate mutual consideration in the underlying arbitration agreement. Michalski, 177

F.3d at 636. Thus, the Arbitration Agreement is valid and binding as to its arbitration provisions.



                                                10
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 11 of 14 PageID #:44




        Moreover, as established above, Plaintiff’s continued employment after receiving—and

executing—the Arbitration Agreement suffices to establish the Arbitration Agreement was

supported by sufficient consideration. “[U]nder Illinois law, continued employment is sufficient

consideration for the enforcement of employment agreements.” Johnson v. Orkin, LLC, 928

F.Supp.2d 989, 1004 (N.D. Ill. 2013); Mecherle, 2012 WL at *5 (“Under Illinois law, continued

employment after notice of an arbitration program constitutes acceptance and consideration.”).

        Put simply, there is no colorable evidence calling into question the Arbitration Agreement’s

validity or enforceability, which contains all the elements of a contract under Illinois law. Thus,

the only remaining question is whether Plaintiff’s claims contained in his Complaint fall within

the scope of the Arbitration Agreement. As established immediately below, the answer is

unequivocally “yes.”

        C. Plaintiff’s Claims are within the Scope of the Arbitration Agreement.

        The claims in Plaintiff’s Complaint are that Napleton subjected Plaintiff to hostile work

environment racial harassment, disparate treatment based upon race, and retaliation in violation of

42 U.S.C. § 1981, Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000c, et seq., and the

Illinois Human Rights Act, 775 ILCS 5/1 et seq. [ECF No. 1]. Such claims fall squarely within

the purview of the Arbitration Agreement. In fact, the Arbitration Agreement provides that the

parties agree to “resolve all disputes that may arise out of or be related in any way to my

employment with the Company…” See Arbitration Agreement.                Moreover, the Arbitration

Agreement further states, in relevant part:

                Included within the scope of this Agreement are all disputes,
                whether based on tort, contract, statute (including, but not limited
                to, any claims of discrimination, harassment and/or retaliation,
                whether they be based on the Title VII of the Civil Rights Act of
                1964, as amended, or any other state or federal law or regulation)…



                                                11
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 12 of 14 PageID #:45




See Exhibit B.

        In this case, not only do the circumstances of Plaintiff’s allegations derive solely from and

relate to his employment relationship Napleton (ECF No. 1, ¶¶ 11-102), but Plaintiff’s

“harassment,” “discrimination,” and “retaliation” claims are specifically identified as the type of

claims covered by the Arbitration Agreement. See Exhibit B. And, although it is unfathomable to

conceive a scenario in which Plaintiff’s claims would not fall under the purview of the Arbitration

Agreement, it is black letter law that “any doubts concerning the scope of arbitral issues should be

resolved in favor of arbitration.” Moses H. Cone, 460 U.S. at 24-25. But, in this case, there is no

doubt that Plaintiff’s claims fall flatly within the scope of the Arbitration Agreement and must be

heard exclusively in an arbitral forum.

                                          CONCLUSION

        Plaintiff agreed to submit any employment claims he might have against Napleton to

binding arbitration. Plaintiff cannot now be allowed to circumvent his contractual obligation by

filing a Complaint in this Court. Consequently, this Court should compel arbitration and dismiss

Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(1) for lack of subject

matter jurisdiction, or, in the alternative, compel arbitration and stay the underlying proceedings

pending the completion of that arbitration.

Dated: December 15, 2023                              Respectfully submitted,

                                                      ED NAPLETON ELMHURST
                                                      IMPORTS, INC.

                                                      /s/ Craig R. Annunziata_________
                                                      Craig R. Annunziata
                                                      Dana N. Ferrell
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                                                 12
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 13 of 14 PageID #:46




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                                         13
FP 48915356.1
    Case: 1:23-cv-14099 Document #: 9-1 Filed: 12/15/23 Page 14 of 14 PageID #:47




                                CERTIFICATE OF SERVICE

        I, Craig R. Annunziata, of the law firm of Fisher & Phillips, LLP, certify that I have filed
the foregoing DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
TO COMPEL ARBITRATION AND DISMISS PLAINTIFF’S COMPLAINT with the
Northern District of Illinois Court via the Court’s CM/ECF notification system, which will send
notification of such filing by electronic service to counsel of record as follows:

                                      Chiquita Hall-Jackson
                                 Hall-Jackson & Associates P.C.
                                180 W. Washington St., Suite 820
                                       Chicago, IL 60602
                               chj@hall-jacksonandassociates.com

                                       Attorney for Plaintiff

Dated: December 15, 2023


                                                     /s/ Craig R. Annunziata




                                                14
FP 48915356.1
